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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  NANO FIRE LLC,
                                                      Case No.: 2:23-cv-03562-BRM- CLW
                Plaintiff,
        v.                                                AMENDED SCHEDULING
                                                                ORDER
  HALMA PLC, HALMA HOLDINGS INC.,
  FIREPRO SYSTEMS LTD. and HOCHIKI
  AMERICA CORPORATION,

                Defendants.


                        PRETRIAL SCHEDULING ORDER (SECOND)

        Per the Honorable Mag. J. Waldor’s June 25, 2025 Order, (E.C.F. No. 80), the Parties

  by and through their attorneys, hereby submit their proposed PRETRIAL SCHEDULING

  ORDER (SECOND) as set forth below:

                                 I.    PATENT RELATED TASKS

     1. The Plaintiff shall serve upon the Defendants its AMENDED Disclosure of Asserted

        Claims and Infringement Contentions, together with supporting documentation under L.

        Patent R. 3.2, no later than July 30, 2025.

     2. The Defendants shall serve upon Plaintiff their L. Patent R. 3.2A “Non-Infringement

        Contentions and Responses,” together with supporting documentation, no later than

        Monday, October 6, 2025.

     3. The Defendants shall serve upon Plaintiff their L. Patent R. 3.3 “Invalidity Contentions,”

        together with supporting documentation, under L. Patent R. 3.4, no later than Monday,

        October 6, 2025.


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     4. The Plaintiff shall serve upon Defendants its L. Patent R. 3.4A, Responses to Invalidity

        Contentions, no later than Monday October 20, 2025.

     5. Per L. Patent R. 4.1(a), the parties shall serve upon each other, a list of claim terms which

        the parties contend should be construed by the Court and identify any claim term which

        they contend should be governed by 35 U.S.C. § 112(6), by no later than Monday,

        November 3, 2025.

     6. Per L. Patent R. 4.1(b), the parties shall meet and confer regarding the limitation of the

        terms in dispute for the purpose of facilitating the ultimate preparation of a Joint Claim

        Construction and Prehearing Statement, by no later than Monday, November 10, 2025.

     7. Per L. Patent R. 4.2, the parties shall “Exchange Preliminary Claim Constructions and

        Extrinsic Evidence” no later than Monday, November 24, 2025.

     8. Per L. Pat. R. 4.2(c), the parties shall identify all intrinsic and extrinsic evidence that they

        intend to rely upon to oppose the other parties’ proposed claim constructions no later than

        Monday, December 8, 2025. Thereafter, the parties shall meet and confer to narrow the

        issues and finalize the preparation of a Joint Claim Construction and Pre-Hearing

        Statement by no later than Monday, December 15, 2025.

     9. Per L. Pat. R. 4.3, the parties shall submit a Joint Claim Construction and Prehearing

        Statement no later than Wednesday December 24, 2025.

     10. Per L. Pat. R. 4.4, all claim construction discovery shall be completed no later than

        Monday, January 26, 2026.

     11. Per L. Pat. R. 4.5 (a), the parties shall file with the Court, and serve on the opposing

        parties, Opening Markman briefs and opening Markman Submissions no later than

        Monday, February 9, 2026.


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     12. Per L. Pat. R. 4.5(b) claim construction expert discovery shall be completed no later than

        Wednesday, March 11, 2026.

     13. Per L. Pat. R. 4.5(c), the parties shall file with the Court and serve on the opposing

        parties, responsive Markman briefs and accompanying evidence no later than Friday

        April 10, 2026.

     14. Per L. Pat. R. 4.6, the parties shall meet and confer and submit a joint letter to the Court

        setting forth a schedule for a Claim Construction Hearing by Friday, April 24, 2026.



                                        II.   COURT DATES

     15. Either sua sponte or at the request of a party, the Court may conduct status conferences as

        are consistent with the circumstances of this matter and L. Civ. R. 16.1 and may revise

        any prior scheduling order for good cause.

     16. The Court may conduct a settlement conference at any time it deems appropriate or at the

        request of a party. At each such conference, attorneys shall ensure that parties are

        available, either in person or by telephone, as the Court directs.

     17. If trial counsel and a client representative with full settlement authority do not appear, the

        settlement conference may be cancelled or rescheduled, and the noncompliant party(s) or

        attorney(s) may be assessed the costs and expenses incurred by the party(s) who appeared

        as directed.

                        III.    DISCOVERY AND MOTION PRACTICE

     18. Defendants will respond to Plaintiff’s February 22, 2024, Discovery Requests no later

        than 30 days after the Court enters the present Scheduling Order, or or before 8/4/25.




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     19. The parties shall complete fact discovery no later than 90 days after the Court enters a

        Claim Construction Order. No fact discovery is to be issued or engaged in beyond that

        date, except as provided herein, or upon application and for good cause shown.

     20. The parties may serve no more than, and are limited to, 25 single-question

        interrogatories, including all discrete subparts. All interrogatories must be served and

        responded to on or before the close of fact-discovery set in Paragraph 19.

     21. The parties may take only 10 depositions per side. Each deponent will only appear once

        for eight hours of deposition running time. The only objections to questions that are

        permitted in a deposition in this matter are lack of foundation, form, or privilege. All

        depositions shall be completed on or before the close of fact discovery set in Paragraph

        19.

     22. Counsel shall confer in good faith to resolve any discovery disputes before seeking the

        Court’s intervention. Should such good faith attempt at resolution fail, the matter shall be

        brought to the Court’s attention via a joint letter that sets forth: (a) the request; (b) the

        response; (c) efforts to resolve the dispute; (d) why the complaining party believes the

        information is relevant and why the responding party’s response is insufficient; and (e)

        why the responding party believes the response is sufficient. No further submissions

        regarding the dispute may be submitted without leave of the Court. If necessary, the

        Court will thereafter schedule a telephone conference to resolve the dispute.

     23. No discovery motion or motion for sanctions for failure to provide discovery shall be

        filed before utilizing the procedures set forth in these paragraphs without prior leave of

        the Court.




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                                          IV.      EXPERTS

     24. Opening expert reports shall be submitted to the Court, and served on the opposing

        parties, no later than 120 days after the Court enters a Claim Construction Order.

     25. Rebuttal expert reports shall be submitted to the Court, and served on the opposing

        parties, 30 days after the parties submit to the Court, and serve on the opposing

        parties, their opening expert reports.

     26. All expert reports shall be in the form, and contain the content, required by Fed. R. Civ. P.

        26(a)(2)(B). No expert shall testify at trial as to any opinions or base those opinions on

        facts not substantially disclosed in the expert’s report.

     27. All expert depositions shall be completed no later than 45 days after the parties submit

        to the Court and serve their rebuttal expert reports on the opposing parties.



                            V.     FINAL PRETRIAL CONFERENCE

     28. A final pretrial conference shall be conducted pursuant to Fed. R. Civ. P. 16(d) on a date

        to be set by the Court. The final pretrial conference will occur even if there are

        dispositive motions pending. The Court will adjourn the final pretrial conference only if

        the requesting party makes a compelling showing that manifest injustice would otherwise

        result in absent adjournment.

     29. The parties shall exchange copies of all proposed trial exhibits no later than 21 days

        before the final pretrial conference. Each exhibit shall be pre-marked with an exhibit

        number conforming to the party’s Exhibit list.

     30. The Court expects to engage in meaningful settlement discussions at the final pretrial

        conference. Accordingly, trial counsel with full settlement authority must attend the


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        conference, and clients or other persons with full settlement authority must be available

        by telephone.

                                   VI.    MISCELLANEOUS

     31. A copy of every pleading, document, or written communication with the Court shall be

        served on all parties to the action via email or ECF. Any such communication which does

        not recite or contain a certification of such service may be disregarded by the Court.

     32. Absent permission from Chambers, communications to the Court by facsimile will not be

        accepted. All communications to the Court shall be in writing, via ECF or by telephone

        conference.

     33. A comprehensive table containing all the above-mentioned dates certain, is attached to

        the end of this Order.



  FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER MAY RESULT IN

  SANCTIONS.



  So ORDERED and SIGNED this 3rd day of July, 2025.


                                              s/ Cathy L. Waldor
                                              HON. CATHY L. WALDOR
                                              UNITED STATES MAGISTRATE JUDGE




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                                     SCHEDULE DATES

   Date                Description
   July 30, 2025       Plaintiff to serve AMENDED Disclosure of Asserted Claims and
                       Infringement Contentions under L. Patent R. 3.2

   October 6, 2025     Defendants to serve Non-Infringement Contentions and Responses
                       under L. Patent R. 3.2A; Invalidity Contentions and documentation
                       under L. Patent R. 3.3, 3.4

   October 20, 2025    Plaintiff to serve Responses to Invalidity Contentions under L. Patent R.
                       3.4A

   November 3, 2025    Parties to serve list of claim terms under L. Patent R. 4.1(a)

   November 10, 2025   Parties to meet and confer for the purposes of limiting the terms in
                       Dispute under L. Patent R. 4.1(b)

   November 24, 2025   Parties to Exchange Preliminary Claim Constructions and Extrinsic
                       Evidence under L. Patent R. 4.2

   December 8, 2025    Parties to identify all intrinsic and extrinsic evidence that they intend to
                       rely upon to oppose the other parties’ proposed claim constructions
                       under L. Pat. R. 4.2(c)

   December 15, 2025   Parties to parties shall meet and confer to narrow the issues and finalize
                       the preparation of a Joint Claim Construction and Pre-Hearing
                       Statement under

   December 24, 2025   Parties to submit a Joint Claim Construction and Prehearing Statement
                       under L. Pat. R. 4.3

   January 26, 2026    All claim construction discovery to be completed under L. Pat. R. 4.4

   February 9, 2026    Parties to file with the Court and serve Opening Markman briefs and
                       opening Markman Submissions under L. Pat. R. 4.5 (a)

   March 11, 2026      Claim construction expert discovery shall be completed under L. Pat. R.
                       4.5(b)

   April 10, 2026      Parties to file with the Court and serve responsive Markman briefs and
                       accompanying evidence under L. Pat. R. 4.5(c)

   April 24, 2026      Parties to meet and confer and submit a joint letter to the Court setting
                       forth a schedule for a Claim Construction Hearing under L. Pat. R. 4.6
